       Case 2:24-cv-06706-JMY         Document 1      Filed 12/17/24     Page 1 of 47




                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 REMBRANDT 3D HOLDING LTD., a Nevis
 Corporation,                                         Case No. 2:24-cv-6706

                   Plaintiff,                         COMPLAINT FOR PATENT
                                                      INFRINGEMENT, TRADE
       v.                                             SECRET MISAPPROPRIATION,
                                                      AND BREACH OF CONTRACT
 WILLIAM A. HOMONY, an individual
 residing in Pennsylvania and Chapter 11 Trustee      DEMAND FOR JURY TRIAL
 for The Estates of Stream TV Networks, Inc.
 and Technovative Media, Inc.;
 SSG ADVISORS, LLC, a Pennsylvania
 Corporation; J. SCOTT VICTOR, an individual
 working for SSG ADVISORS, LLC, TERESA
 C. KOHL, an individual working for SSG
 ADVISORS, LLC, CRAIG D. WARZNAK, an
 individual working for SSG ADVISORS, LLC,
 ALEXANDER D. LAMM, an individual
 working for SSG ADVISORS, LLC, SAMUEL
 P. CHARLTON, an individual working for SSG
 ADVISORS, LLC, and DOES 1-10, inclusive,

                   Defendants.




       Plaintiff Rembrandt 3D Holding Ltd. (“Plaintiff” or “Rembrandt”) now complains of

Defendants William Homony (“Homony”), SSG Advisors, LLC (“SSG”), J. Scott Victor

(“Victor”), Teresa C. Kohl (“Kohl”), Craig D. Warznak (“Warznak”), Alexander D. Lamm

(“Lamm”), and Samuel P. Charlton (“Charlton”) (collectively, “Defendants”) and alleges as

follows:




                                              1
       Case 2:24-cv-06706-JMY            Document 1       Filed 12/17/24      Page 2 of 47




                                       NATURE OF CASE

       1.      Rembrandt brings this Complaint for patent infringement, 35 U.S.C. § 271, et

seq., trade secret misappropriation under the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. §

1836, et seq., and breach of contract under Delaware law. Rembrandt seeks damages and

injunctive relief for Defendants’ (i) unauthorized manufacture, use, offer for sale, importation

into the United States, and sale of assets that utilize Rembrandt’s patented technology, know-

how, and trade secrets and (ii) breach of their fiduciary duties in the jointly administered

bankruptcy cases, In re: Stream TV Networks, Inc., et al., Case No. 23-10763 (MDC) and In re:

Technovative Media, Inc., et al., Case No. 23-10764 (MDC) pending in this District (the

“Bankruptcy Cases”), where Rembrandt is an unsecured creditor by way of its preexisting

intellectual property licensing arrangement with Stream TV Networks, Inc. (“Stream”) under the

parties’ Settlement Agreement and Mutual Release dated May 23, 2021 (“Settlement

Agreement,” a true and correct copy of which is attached hereto as Exhibit 1).


                                        INTRODUCTION

       2.      Rembrandt is the owner by assignment of United States Patent No. 8,558,830

(“the ’830 Patent”), United States Patent No. 9,521,390 (“the ’390 Patent”), and United States

Patent No. 9,681,114 (“the ’114 Patent”) (collectively, the “Rembrandt Patents” or “Asserted

Patents,” true and correct copies of which are attached hereto as Exhibits 2-4, respectively) and

trade secrets for optimizing glasses-free three-dimensional (3D) display technology (the

“Rembrandt Trade Secrets”), which are articulated with reasonable specificity in the following

paragraphs. The Rembrandt Patents and the Rembrandt Trade Secrets, along with Rembrandt’s

know-how, are collectively referred to as the “Rembrandt IP.”




                                                  2
       Case 2:24-cv-06706-JMY          Document 1      Filed 12/17/24      Page 3 of 47




       3.     Rembrandt is a holding company and the current owner of all of the assets of 3D

Fusion Corp. (“3D Fusion”), a Delaware corporation formed on March 26, 2007 with its

principal office formerly at 110 Wall Street in New York City and wholly owned Dutch

subsidiaries 3D Fusion Holding B.V. (“3D Fusion Holding”) and 3D Fusion EU B.V. (“3D

Fusion EU”) located in Eindhoven, the Netherlands.

       4.     Stephen K. Blumenthal (“Blumenthal”) is an individual residing at 128 Bull Hill

Road, Newfield, New York. Blumenthal:

              a. co-founded and owned approximately 45% of 3D Fusion and served as its

                  director and President;

              b. is an inventor of the inventions claimed in the Rembrandt Patents;

              c. worked at 3D Fusion to develop the Rembrandt Trade Secrets;

              d. after a secured creditor foreclosed on the assets of 3D Fusion, purchased the

                  assets of 3D Fusion from the secured creditor;

              e. formed Rembrandt, owns 100% of the outstanding shares in Rembrandt, and

                  serves as its director and CEO;

              f. assigned title to all of the assets of 3D Fusion to Rembrandt; and

              g. formed Rembrandt 3D Corp (“R3D Corp”) as an operating Delaware

                  corporation to commercialize no glasses 3D display technology, owns

                  approximately 72% of the outstanding shares in R3D Corp, and serves as its

                  director and CEO.

       5.     Stream came to Rembrandt’s predecessor, 3DFusion, as an investor in 2010 and

the relationship became adversarial when Rembrandt filed suit against Stream in the Southern

District of New York Court in 2017. Rembrandt’s lawsuit against Stream was resolved in their



                                               3
       Case 2:24-cv-06706-JMY          Document 1        Filed 12/17/24     Page 4 of 47




signing a May 23, 2021, Settlement Agreement (Exhibit 1) which included a license to the

Rembrandt IP.

       6.       The trade secrets licensed by Rembrandt to Stream are embedded in the

technology Stream included in its products and are known to the engineers that used to work

with 3DFusion, then for Stream, and now for SeeCubic, Inc.

       7.       Homony, as the appointed Chapter 11 trustee for Stream and Technovative Media,

Inc. (“Technovative,” and with Stream, the “Debtors”) in the Bankruptcy Cases controls Debtors’

operations and Debtors’ estates including SeeCubic, B.V. (“SCBV”), a foreign subsidiary of

Stream. During the bankruptcy administration, Homony permitted SCBV to manufacture and/or

import into the United States prototypes that exploit the Rembrandt IP without Rembrandt’s

authorization (the “SCBV Prototypes”) and in violation of the Settlement Agreement. Homony

also permitted SeeCubic, Inc. (“SeeCubic”) 1, the stalking horse bidder chosen by Homony and

now purchaser of Debtors’ estate assets, to receive and use the SCBV Prototypes so that it could

demonstrate Stream’s glasses-free 3D display technology to potential investors as part of a

capital raise that includes foreign investors. Homony noted the existence and sale of the SCBV

Prototypes in royalty reports provided to Koninklijke Philips N.V. (“Philips”), who, like

Rembrandt, licenses patented technology that would otherwise encumber the commercialization

of Stream’s technology and accordingly, impose liability on any successor that assumes Debtors’

estate assets. Homony’s actions are outside the ordinary course of the Debtors’ business and

breached the Settlement Agreement between Rembrandt and Stream.




1
 While SeeCubic and SCBV are both controlled by Shadron L. Stastney, SCBV was not owned
by SeeCubic until the sale of Debtors’ estate assets.

                                                4
        Case 2:24-cv-06706-JMY           Document 1           Filed 12/17/24   Page 5 of 47




       8.      Homony retained SSG as the exclusive investment banker to handle the sale of

Debtors’ estate assets and solicit competing offers. As part of its “363 Sale Teaser” document, a

true and correct copy of which is attached hereto as Exhibit 5, SSG indicates that it is offering

the Debtors’ assets for sale, including but not limited to SCBV and software that implements the

Rembrandt Trade Secrets and the claimed subject matter of the Rembrandt Patents. The 363 Sale

Teaser lists Victor, Kohl, Warznak, Lamm, and Charlton as the individuals to contact regarding

the offer to sell the assets that include the Rembrandt IP.

       9.      Despite having notified Homony on numerous occasions regarding Rembrandt’s

concerns and his statements during the Bankruptcy Court hearing on June 5, 2024, that he had

not hired any experts to help him evaluate whether 2D + Depth technology was involved in the

assets being sold, the 363 Sale Teaser does not mention the Rembrandt IP or the Settlement

Agreement.

       10.     On December 10, 2024, Defendants initiated the sale of those assets without

Rembrandt’s authorization and in breach of the Settlement Agreement. On information and

belief, the relevant parties are still working to close the sale, which will result in Rembrandt

suffering irreparable harm that includes the loss of Rembrandt’s competitive advantage and

business opportunities that it will not recover. By allowing the infringement of the Rembrandt

Patents to pass in a sale, the Defendants have effectively shortened the Rembrandt Patents’

valuable exclusivity period. Accordingly, monetary damages alone are inadequate to address the

harm to Rembrandt.

       11.     Rembrandt’s license to Stream under the Settlement Agreement is not assignable

to a buyer of the Debtors’ estate assets without Rembrandt’s express consent. Rembrandt has

repeatedly informed Homony that it does not consent to include the Rembrandt IP in the sale of



                                                  5
       Case 2:24-cv-06706-JMY           Document 1          Filed 12/17/24   Page 6 of 47




Debtors’ bankruptcy estate assets. Accordingly, the Defendants’ offer to sell and the sale of the

Debtors’ bankruptcy estate assets with Rembrandt’s IP constitutes a reckless disregard of

Rembrandt’s intellectual property rights and a deliberate breach of Stream’s Settlement

Agreement with Rembrandt. Under the Settlement Agreement, Rembrandt is entitled to recover

its attorney’s fees and costs for the Defendants’ breach.

       12.     The alleged activities by Defendants occurred after filing the bankruptcy petition

in the Bankruptcy Cases, thereby constituting post-petition torts not protected by automatic stay

provisions. The assets Defendants have sold include the intellectual property of Rembrandt.


                                         THE PARTIES

       13.     Plaintiff is a corporation organized and existing under the laws of the Island of

Nevis with a registered address at Suites 5&6 Horsfords Business Centre, Long Point Road,

Nevis, West Indies and has an office at 128 Bull Hill Road, Newfield, New York.

       14.     Defendant Homony is an individual with a place of business located at 1628 John

F. Kennedy Blvd., Suite 950, Philadelphia, PA 19103, which is in this District.

       15.     Defendant SSG is a limited liability company with a place of business located at

300 Barr Harbor Drive, Conshohocken, PA 19428, which is in this District.

       16.     Defendant J. Scott Victor is an individual working for SSG, with a place of

business located at 300 Barr Harbor Drive, Conshohocken, PA 19428, which is in this District.

       17.     Defendant Teresa C. Kohl is an individual working for SSG, with a place of

business located at 300 Barr Harbor Drive, Conshohocken, PA 19428, which is in this District.

       18.     Defendant Craig D. Warznak is an individual working for SSG, with a place of

business located at 300 Barr Harbor Drive, Conshohocken, PA 19428, which is in this District.




                                                 6
        Case 2:24-cv-06706-JMY            Document 1     Filed 12/17/24      Page 7 of 47




        19.    Defendant Alexander D. Lamm is an individual working for SSG, with a place of

business located at 300 Barr Harbor Drive, Conshohocken, PA 19428, which is in this District.

        20.    Defendant Samuel P. Charlton is an individual working for SSG, with a place of

business located at 300 Barr Harbor Drive, Conshohocken, PA 19428, which is in this District.

        21.    Rembrandt is ignorant of the true names and capacities of the parties sued herein

as DOES 1 through 10, inclusive, whether individual, corporate, or otherwise, and therefore sues

these defendants by such fictitious names. Rembrandt will seek leave to amend the Complaint to

assert their true names and capacities when they have been ascertained. Rembrandt is informed

and believes, and based thereon, alleges that all defendants sued herein as DOES 1 through 10

are in some manner responsible for the acts and omissions alleged herein.


                                  JURISDICTION AND VENUE

        22.    This Court has original and exclusive subject matter jurisdiction over this action

according to 28 U.S.C. 1331 and 1338(a) because it arises under federal patent law and the

DTSA.

        23.    This Court has supplemental jurisdiction over all state law claims under 28 U.S.C.

§ 1367(a) because they are so related to the federal claims that they form part of the same case or

controversy and derive from a common nucleus of operative facts.

        24.    This Court has diversity jurisdiction under 28 U.S.C. §1332 because complete

diversity of citizenship exists in the parties and the matter in controversy exceeds the sum or

value of $75,000.00.

        25.    The acts and transactions complained of herein were conceived, carried out, made

effective, and had effect within this District.




                                                  7
        Case 2:24-cv-06706-JMY           Document 1        Filed 12/17/24     Page 8 of 47




       26.     Venue is proper under 28 U.S.C. §§ 1391(b) and (c) and 1400(b) because

Defendants reside and/or have a regular and established place of business in this District, and

that a substantial part of the events giving rise to the claims and the threatened and actual harm to

Rembrandt occurred in this district because of Defendants’ conduct as alleged herein.


                           RELEVANT FACTUAL BACKGROUND

       27.     Rembrandt is a holding company that holds intellectual property rights related to

glasses free 3D displays and content solutions that include the Rembrandt Trade Secrets and

claimed subject matter of the Rembrandt Patents.

       28.     In February 2016, Rembrandt acquired all or substantially all the assets of

3DFusion, including all intellectual property and causes of action arising therefrom. Although

Homony and SSG did not become involved with the matter hereof until January 2024 and July

2022, respectively, a summarized history of Rembrandt’s technology and Stream’s Ultra-D

technology is necessary to describe the integral relationship between them and the dependence of

one on the other.

A.     Philips and 3DFusion: Origins of the Glasses-Free 3D Technology

       29.     Beginning around 2000, Philips developed inventions for viewing 3-dimensional

images and video without needing 3D glasses based on the “2D+Depth” autostereoscopic

mathematical encryption technology of the Heinrich Hertz Institute. Philips secured patents for

technology related to its glasses-free 3D computer source code, optical designs, and other

implementations (collectively, the “Philips IP”). Philips manufactured and marketed glasses-free

3D autostereoscopic display (“3DASD”) hardware and software products as part of its “WOWvx

Platform” and tried to license the Philips IP to third parties.




                                                   8
       Case 2:24-cv-06706-JMY          Document 1        Filed 12/17/24     Page 9 of 47




       30.     3DFusion was co-founded by Blumenthal to create and sell glasses-free 3D

content. 3DFusion secured a content creation license from Philips and began using Philips “Blue

Box” hardware and software to convert 2D video content into a glasses-free 3D format for the

Philips WOWvx Platform.

       31.     The WOWvx Platform used mathematical algorithms and a grayscale depth map

to transform normal 2D viewing into a glasses-free 3D experience. Although the Philips solution

achieved a 3D effect, it suffered from significant image quality issues and numerous artefacts

such as double-image “ghosting” that caused viewer dizziness and eye strain. Content generated

for the WOWvx Platform required weeks of manual post-processing to correct the anomalies and

achieve results acceptable to 3DFusion. The process was prohibitively expensive, slow,

complicated, and highly labor intensive.

       32.     Through extensive experimentation and research comprising more than 3,000

hours of 2D-to-3D-depth-map rotoscoping, Blumenthal developed a novel and non-obvious

methodology to correct the image quality issues of the WOWvx Platform. Blumenthal’s

discoveries were treated as a proprietary technology of 3DFusion. Although Blumenthal patented

some of his inventions, other technology was kept proprietary as confidential trade secrets of

3DFusion.

       33.     By July 2009, 3DFusion had developed a sound strategy that included:

               a. Support of current and future patent filings for new 3DFusion technology,

               b. Acquisition of a worldwide Master License for the Philips IP, and

               c. Engagement of appropriate technical, administrative, and technical personnel

                  in the USA and the Netherlands.




                                                9
       Case 2:24-cv-06706-JMY          Document 1        Filed 12/17/24     Page 10 of 47




       34.     Philips notified 3DFusion that it was in the process of winding down its glasses-

free 3D operations due to, among other reasons, lackluster sales of WOWvx products. Despite

the operational shutdown of its glasses-free 3D division, Philips was committed to licensing its

technology to third parties, and 3DFusion continued using the previously licensed hardware and

software of the WOWvx Platform.

       35.     In or about September 2009, Blumenthal contacted former key technology experts

of the then-defunct Philips glasses-free 3D division (the “Eindhoven Team”) about 3DFusion’s

desire to build support for the WOWvx Platform. The Eindhoven Team was solicited to join

3DFusion. Plans commenced to form a Netherlands subsidiary to employ the Eindhoven Team,

all of whom were Dutch Citizens.

       36.     In December 2009, Blumenthal visited the Netherlands and demonstrated

3DFusion’s improved WOWvx Platform results to the Eindhoven Team, all of whom orally

agreed to keep 3DFusion’s proprietary technology confidential. After the demonstration, one

member of the Eindhoven Team stated, “It took two guys from New York to come to Philips to

show us how to fix our TV.”

       37.     Blumenthal pursued a broad technology license from Philips. Endorsed by the

former senior technical team of the Philips glasses-free 3D division, Blumenthal convinced

Philips to issue a non-exclusive master license for the 800+ patents that comprise the Philips IP.

       38.     Through 2010, 3DFusion and the Eindhoven Team commenced bi-weekly R&D

and business development teleconferences and exchanged numerous emails regarding the

3DFusion technology. Meeting minutes were kept and describe the various technical and

administrative issues addressed by 3DFusion and Eindhoven Team.




                                                10
       Case 2:24-cv-06706-JMY            Document 1      Filed 12/17/24     Page 11 of 47




       39.     While 3DFusion had included some of the information and improvements in the

Rembrandt Patents, many other improvements were held as trade secrets and were disclosed and

developed under non-disclosure agreements with the Eindhoven Team. Nonetheless, many of the

Rembrandt Trade Secrets were developed prior to Blumenthal engaging the Eindhoven Team.

       40.     3DFusion filed its first patent application in 2008 and had filed a dozen patent

applications prior to the end of 2009.

       41.     While 3DFusion prosecuted some applications to become the Rembrandt Patents,

3DFusion opted to rely on trade secret protection and did not pursue utility patent coverage for at

least 10 patent applications that were filed as provisional applications but were not published.

Specifically, the following applications were filed in 2009, but never published:

               a. System For Optically Capturing Live Media Content In Conjunction With

                   Acquisition Of Content-Related Non-Media Information Usable For

                   Generation Of Improved Three Dimensional Content From The Captured Live

                   Media

               b. System And Method For Generating Improved Three-Dimensional Media

                   Content Utilizing Non-Media Information Acquired During Two- Or Three-

                   Dimensional Content Capture

               c. System And Method For Multiple View Optical Path Content Integration

               d. Multiple View Optical Path Array And Digital Light Projection Lens Screen

                   System And Method

               e. System And Method For Multiple Image Alignment For Digital Light

                   Projection Stereoscopic Image Correction




                                                11
       Case 2:24-cv-06706-JMY           Document 1      Filed 12/17/24      Page 12 of 47




               f. System And Method For Camera Through-The-Lens Stereo Depth

                    Determination For Zed Measurement Triangulation

               g. System And Method For Removal Of Undesirable Image Components From

                    Three Dimensional Content Displayed Through A Stereoscopic Digital Light

                    Projection System

               h. Media Content Display System And Method For Displaying At Least One Of

                    Two- And Three-Dimensional Media Content Within Corresponding Plural

                    Display Regions Thereof

               i. Dynamically Configurable Adaptive Stereoscopic Display And Viewer-

                    Related Data Acquisition System And Method

               j.   Digital Light Projection Auto Stereoscopic Display System And Method

       42.     The Eindhoven Team and 3DFusion worked on a number of projects and relied on

the 3DFusion license with Philips that allowed them to utilize the Philips IP, which included

know-how, trade secrets, software, and patent rights.

       43.     In addition to improving the Philips IP, Blumenthal also worked with Corning

Glass on 3D lenticular lens optical design aspects which are essential to the superior performance

of glasses-free 3D products and are included as part of the Rembrandt Trade Secrets.

B.     3D Fusion and Stream

       44.     Having accomplished its primary business objectives of developing its own

proprietary technology for no glasses 3D displays and content tools, securing a license to the

Philips IP, and hiring key technology experts, 3DFusion began seeking capital to support

expanded operations and satisfy its new liabilities.

       45.     In June 2010, Raja Rajan and Mathu Rajan (the “Rajans”), principals of Stream,

came to 3DFusion’s New York office for a demonstration of 3DFusion’s technology. Upon

                                                 12
       Case 2:24-cv-06706-JMY          Document 1       Filed 12/17/24      Page 13 of 47




information and belief, Stream had previously acquired its own WOWvx display from Philips

and had experienced the same artefacts and ghosting issues that plagued the Philips WOWvx

Platform.

       46.     Impressed by the improvements achieved by 3DFusion, the Rajans signed a

Mutual Non-Disclosure and Confidentiality Agreement (“NDA”) on June 9, 2010, and an

Addendum to the Agreement dated June 11, 2010, for due diligence investigation for potential

equity funding of 3DFusion.

       47.     In reliance on these agreements, 3DFusion provided Stream with information

regarding developments by Blumenthal and the Eindhoven Team, including the pathway to

automation of the 3D content generation process and the 3D playback optimization and

correction process that had, prior to Blumenthal’s groundbreaking work, been impossible to

achieve.

       48.     On October 8, 2010, Blumenthal visited Stream’s office in Philadelphia, PA, to

demonstrate the 3DFusion technology for Stream employees and answer various technical and

business questions. Blumenthal described (a) all proprietary aspects of the content creation

workflow, including conversion from 2D, optimization, and elimination of artefacts; (b) how 3D

lens optical design was critical to matching content; and (c) ideas for a 2D/3D switchable

technology solution, all of which had been developed as computer source code, optical designs,

technical sketches, or similar.

       49.     The research and development effort by Blumenthal and the Eindhoven Team

from mid-2007 through December 2010 produced valuable confidential and proprietary

intellectual property including derivative works developed under the Philips technology license,

trade secrets, patents and patent applications, and copyrights, all of which became essential



                                                13
       Case 2:24-cv-06706-JMY         Document 1       Filed 12/17/24      Page 14 of 47




technology components for an improved and commercially marketable WOWvx Platform.

3DFusion disclosed the intellectual property only on a need-to-know basis and only under the

protection of NDAs.

       50.     In December 2010, 3DFusion secured a loan to make the required payment to

Philips for the technology license.

C.     Stream Employs the Eindhoven Team and Launches the Ultra-D™ Technology

       51.     Upon information and belief, certain members of the Eindhoven Team accepted

contract employment from Stream in May 2011 to continue their work in developing a

marketable glasses-free 3D solution. They encouraged Stream to obtain its own license of the

Philips IP as a foundation for Stream’s new solution, which it would later trademark Ultra-D™

(“Ultra-D”). The Ultra-D technology and related products as they have existed at all times

require utilization of the Rembrandt Trade Secrets and the claimed subject matter of the

Rembrandt Patents.

       52.     In November 2011, Stream formed SCBV as a wholly owned operating subsidiary

in Eindhoven. In December 2011, Stream secured a license of the Philips IP, which it holds in

another wholly owned subsidiary, Ultra-D Ventures C.V. The Eindhoven Team, which has

expanded and evolved in personnel over the years, has continuously worked on the Ultra-D

technology since 2011.

       53.     Over several years, Stream continued to develop its business based on the Ultra-D

technology, showcasing Ultra-D at global trade shows, filing patent applications, engaging in

product manufacturing and sales, and securing customers and strategic partnerships.

D.     3DFusion Dissolves and Rembrandt Acquires the Assets Including IP

       54.     In January 2012, Blumenthal resigned from 3DFusion due to lack of funding.



                                               14
       Case 2:24-cv-06706-JMY          Document 1        Filed 12/17/24     Page 15 of 47




       55.     On October 31, 2014, 3DFusion defaulted on its obligation to repay the loan it

had secured to pay the December 2010 license payment to Philips. The secured lender seized all

of 3DFusion’s tangible and intangible assets through foreclosure and sold them to Blumenthal in

or about February 2016.

       56.     In December 2016, Blumenthal assigned the 3DFusion assets to his newly formed

holding company, Rembrandt 3D Holding, Ltd. Blumenthal owns 100% of Rembrandt.

E.     Rembrandt Commences Litigation Against Stream, Resulting in a Settlement

       57.     Rembrandt filed a complaint against Stream and the Rajans in January 2017,

alleging patent infringement, breach of contract, and unjust enrichment.

       58.     A first mediation conference in July 2018 commenced many months of failed

negotiations, but a second mediation conference in April 2019 led to an agreed settlement term

sheet that was initialed by the parties and signed by the presiding magistrate judge (the

“Settlement Term Sheet”).

       59.     Notably, the Settlement Term Sheet was negotiated and signed by Shadron L.

Stastney (“Stastney”) on behalf of Stream. At the time, Stastney was an officer and director of

Stream and a managing member of Stream’s senior secured lender. Stastney – as an individual,

as managing member of SLS, or as CEO of SeeCubic – would later (a) attempt to foreclose on

Stream’s assets, including ownership of SCBV and Stream’s other subsidiaries as well as the

Ultra-D technology which incorporates the Rembrandt IP (the “Stream Assets”), (b) seize the

Stream Assets through an improvident injunction, (c) refuse to return the Stream Assets

following an order by the Delaware Supreme Court, (d) exercise dominion and control over the

Stream Assets during the administration of Debtors’ estates, and (e) serve as the stalking horse

bidder in a bankruptcy sale of the Stream Assets conducted by the Defendants over Rembrandt’s

objections.

                                                15
       Case 2:24-cv-06706-JMY             Document 1    Filed 12/17/24     Page 16 of 47




       60.     The Settlement Term Sheet provided that Stream would pay Rembrandt $5.8

million and provide Rembrandt with approximately 3 million Ultra-D televisions at cost as

compensation for a license to use the Rembrandt IP. Stastney stated that the “at cost” provision

conferred a value of more than $1 billion to Rembrandt. Every Ultra-D television utilizes the

Rembrandt Trade Secrets and subject matter claimed in the Rembrandt Patents.

F.     Stream Loses its Assets Pursuant to an Improvident Injunction, Putting Rembrandt
       Intellectual Property at Risk

       61.     Stream’s secured lender, SLS Holding’s VI, LLC (“SLS”), filed a foreclosure

action against Stream in Delaware Superior Court in March 2020. Stream’s newly appointed

board of directors established a debt Resolution Committee, which negotiated and executed a

settlement agreement (the “Omnibus Agreement”) that purported to transfer the Stream Assets to

Stastney’s newly formed company, SeeCubic, Inc.

       62.     Arguing that the Omnibus Agreement violated the company’s charter, Stream

filed for injunctive relief in the Delaware Court of Chancery in September 2020. SeeCubic filed

a counterclaim, commencing three months of initial litigation. In December 2020, the Chancery

Court issued a preliminary injunction order against Stream, enjoining it from attempting to

prevent the asset transfer to SeeCubic.

       63.     SeeCubic took possession of the Stream Assets immediately afterward, thereby

gaining access to the Rembrandt IP without authorization from Rembrandt.

       64.     Rembrandt attempted to negotiate a license with SeeCubic, but Stastney, as CEO

and Chairman of SeeCubic, refused Rembrandt’s overtures despite his previous acknowledgment

of the need for a license when negotiating on behalf of Stream.

       65.     In November 2021, the Chancery Court issued a partial final judgment, ruling that

the Omnibus Agreement was valid and binding upon Stream.


                                                16
       Case 2:24-cv-06706-JMY          Document 1       Filed 12/17/24     Page 17 of 47




G.     Stream wins its Appeal to the Delaware Supreme Court but Fails to Secure the
       Return of its Assets

       66.     Stream appealed the Chancery Court ruling to the Delaware Supreme Court in

December 2021. Sitting en banc, the Delaware Supreme Court heard the case in April 2022. It

issued a unanimous 5-0 opinion in June 2022 that (a) found that Stream’s board of directors had

violated the company’s charter, (b) ruled the Omnibus Agreement invalid and thus void ab initio,

(c) reversed and vacated the lower court decision, and (d) remanded the case to the Chancery

Court to unwind the damage done to Stream.

       67.     Rather than return the Stream assets as mandated by the Delaware Supreme

Court, SeeCubic argued that it should not have to return assets it had improved during the time it

held possession as a result of the improvident injunction.

       68.     When the Chancery Court disagreed, SeeCubic conspired with Stream’s junior

secured lender, Hawk Investment Holdings Limited (“Hawk”), to sell the assets rather than

return them. In July 2022, Hawk engaged in discussions with SSG to market and sell the Stream

Assets in a UCC Article 9 sale for the benefit of SeeCubic.

       69.     Stream was able to stop SSG from proceeding by obtaining temporary injunctive

relief from the Chancery Court. In October 2022, however, Hawk attempted to exercise proxy

rights and seize control of Stream’s subsidiary, Technovative. Hawk formally engaged SSG to

sell the Stream Assets, and SSG began the marketing process. SSG was stopped only by a status

quo order issued by the Chancery Court before the sale could transpire.

       70.     Rembrandt moved to intervene in the Chancery Court action on October 18, 2022.

See Stream TV. Networks, Inc. v. SeeCubic, Inc., Case No. 2020-0766-JTL, D.I. 331 (Del. Ch.,

Oct. 18, 2022). Shortly thereafter, Rembrandt filed a pleading and motion for injunction on

October 21, 2022. Id. at D.I. 335. Rembrandt’s involvement in the Chancery Court action was


                                                17
       Case 2:24-cv-06706-JMY           Document 1       Filed 12/17/24      Page 18 of 47




denied without prejudice due to the commencement of the Bankruptcy Cases. See Stream TV.

Networks, Inc. v. SeeCubic, Inc., Case No. 2020-0766-JTL, D.I. 351 (Del. Ch. Apr. 26, 2023).

H.     Stream Files for Bankruptcy Protection and Attempts to Secure the Return of its
       Assets

       71.     Stream and Technovative filed for Chapter 11 bankruptcy protection in March

2023, nine months after the Delaware Supreme Court ruled that Stream was entitled to the return

of its assets. Stream provided copies of approximately $138 million in purchase orders that could

be fulfilled with return of the Stream assets. With more than $20 million in trade debt and no

assets to operate its business and generate revenue, Stream expected the bankruptcy court to

assist with the turnover of assets, so it could proceed to fulfill the purchase orders and work

towards a reorganization plan.

       72.     SeeCubic and Hawk filed motions to dismiss the Bankruptcy Cases and

challenged every move Stream attempted to make in its potential reorganization. With the

Bankruptcy Court’s focus on the animosity of Stream’s creditors, it failed to act on turnover

motions and other requests to mandate the return of Stream’s assets.

       73.     Stream’s counsel worked to keep the bankruptcy estates administratively solvent

and negotiated an amendment to the settlement agreement with Rembrandt (the “Settlement

Amendment”), a true and correct copy of which is attached hereto as Exhibit 6.

       74.     This amendment shifted payments to be paid to Rembrandt during the

administration of the Bankruptcy Cases to the execution date of a reorganization plan. At a

minimum, this amendment reduced the administrative burden to the Stream estate by

$40,000/month and avoided the immediate payment of all arrears due if the executory contract

was assumed.




                                                 18
       Case 2:24-cv-06706-JMY           Document 1       Filed 12/17/24      Page 19 of 47




       75.      Stream filed a disclosure statement that included a plan to utilize and fund the

Settlement Agreement and Settlement Amendment with Rembrandt (D.I. 293 of In re: Stream TV

Networks, Inc. et al., U.S. Bankruptcy Court for the Eastern District of Pennsylvania, filed

3/15/2023, case no. 23-10763-amc).

I.     Rembrandt Enters into the Licensing Covenant with VSI

       76.      Recognizing a common interest in rehabilitating Stream in bankruptcy and

protecting the Stream and Rembrandt intellectual property from the SeeCubic Parties (as defined

below), Rembrandt, Stream, and Visual Semiconductor, Inc. (“VSI”) entered a Licensing

Covenant on August 14, 2023.

       77.      The Licensing Covenant provided that (a) VSI would pay additional

compensation to Rembrandt, (b) additional consumer products would be made available at cost

to Rembrandt, (c) VSI would be able to transfer the Rembrandt license from Stream if desired by

Stream and VSI, and (d) Rembrandt would prohibit the SeeCubic Parties and those working in

concert with them from ever obtaining a technology license from Rembrandt.

J.     The SeeCubic Parties Seize Control of Stream’s Intellectual Property in the
       Netherlands

       78.      Stastney, SeeCubic, SLS, and Hawk (the “SeeCubic Parties”) took legal action in

the Netherlands during the pendency of the Bankruptcy Cases to gain control of Stream’s Dutch

subsidiaries.

       79.      Despite a warning from the Bankruptcy judge to refrain from taking any action

that would affect the estate’s assets, the SeeCubic Parties succeeded in having an independent

director appointed from the law firm Jones Day.




                                                 19
       Case 2:24-cv-06706-JMY          Document 1        Filed 12/17/24     Page 20 of 47




       80.     Rembrandt sent emails to the independent director putting him and Jones Day on

notice that Rembrandt’s IP was being used by SCBV outside of the license by Stream, a true and

correct copy of which is attached hereto as Exhibit 7.

       81.     In response, the independent director resigned rather than be involved with

infringement and misappropriation of Rembrandt IP.

       82.     The SeeCubic Parties had Stastney appointed as director of Stream’s three Dutch

subsidiaries in September 2023.

       83.     Since then, the SeeCubic Parties have used Stastney’s position as director to

exercise dominion and control of SCBV, the Ultra-D technology, Stream’s patent portfolio,

countless technology demonstrations in the United States including the SCBV Products, and

other enhancements derived from and incorporating the Rembrandt IP.

K.     The Bankruptcy Court Issues a TRO to Enjoin the SeeCubic Parties

       84.     Stream filed for injunctive relief from the Bankruptcy Court in an adversary

complaint against the SeeCubic Parties and SCBV in September 2023. See Stream TV Networks,

Inc., et al. v. Shadron L. Stastney et al., Adversary Case No. 23-00057-amc. The Complaint cited

unauthorized use of the Ultra-D technology, which presented a threat of irreparable harm because

such use potentially risked Stream’s licenses with Philips and Rembrandt.

       85.     In particular, Stream argued that SeeCubic’s business model of offering

sublicenses to customers directly violated both the Rembrandt and Philips licenses, which

prohibit sub-licensing.

       86.     Both the CEO of Stream and the CFO of Rembrandt testified that the Rembrandt

IP was indeed incorporated in the Ultra-D technology and that neither SeeCubic nor SCBV had a

license from Rembrandt.



                                               20
       Case 2:24-cv-06706-JMY           Document 1       Filed 12/17/24        Page 21 of 47




       87.     The Bankruptcy Court issued a Temporary Restraining Order on January 4, 2024

(the “Bankruptcy TRO”), a true and correct copy of which is attached hereto as Exhibit 8),

enjoining the SeeCubic Parties, SCBV, and those working in concert with them from, among

other things, taking any action affecting the Rembrandt license.

L.     Homony is Appointed Chapter 11 Trustee, Settles with the SeeCubic Parties, and
       Commences a Plan to Sell Stream’s Assets

       88.     The Bankruptcy Court appointed Homony as Chapter 11 Trustee shortly after

issuing the Bankruptcy TRO. Homony had certain mandates as Trustee for the bankruptcy estates

of Stream and Technovative, including (a) determining the validity of the claims of Stream’s

secured creditors, and especially that of Hawk, which had filed a claim for $178 million; (b)

evaluating the business prospects of the Debtors, including $138 million in purchase orders

received from VSI; and (c) marshaling the assets of the Debtors and securing their return.

       89.     On February 19, 2024, R3D Corp provided a proposal to Homony’s counsel for a

Chapter 11 reorganization plan that would have fully repaid or converted the secured creditors of

Stream and repaid most of the unsecured creditors, a true and correct copy of which is attached

hereto as Exhibit 9.

       90.     Rembrandt relayed that “[w]e discussed with Stream’s prior counsel setting up a

call with our team and the customers to assess these contracts.” (Exhibit 9)

       91.     Rembrandt provided a list of due diligence items to be investigated to proceed

with a proposal. (Exhibit 9)

       92.     Rembrandt stated that preservation of the intellectual property was paramount: “If

the Philips license is terminated due to a change of control or breaches of the license, the value

of Stream is pretty much destroyed, so keeping the IP intact during administration and through




                                                 21
       Case 2:24-cv-06706-JMY           Document 1        Filed 12/17/24      Page 22 of 47




plan execution is critical. We have listed the assets we want to confirm. The IP assets are critical,

the contracts with customers are important to valuation but not deal killers.” (Exhibit 9)

       93.     Homony arranged one phone call with employees of SCBV, but upon information

and belief, he took no other action to investigate the due diligence items or to preserve the IP.

       94.     Upon information and belief, Mathu Rajan and other employees of Stream (a)

provided Homony with a list of Stream assets that SeeCubic had failed to return as mandated by

the Delaware Supreme Court; (b) offered to arrange meetings with VSI’s end-user customers so

that Homony could validate the purchase orders; and (c) provided hundreds of pages of

documentation supporting the extinguishment of most, if not all, of Hawk’s debt according to a

debt-to-equity conversion agreement executed by Hawk in 2018.

       95.     According to VSI’s filings in the Bankruptcy Cases, “Upon information and

belief, the Trustee was given a presentation of the Debtors’ own technology in March 2024 by

Stastney, who demonstrated one of the latest samples made by the Debtors’ Netherlands R&D

engineers. Rather than confiscate the demonstrator sample as estate property since it contained

the Debtors’ proprietary technology, the Trustee allowed Stastney, a party specifically enjoined

by the Bankruptcy TRO, to maintain possession of the unit for use in competition with the

Debtors.” (See paragraph 49 on page 27 of 534 of D.I. 788 in Stream Bankruptcy, a true and

correct copy of page 27 is attached as Exhibit 10)

       96.     Homony entered into a settlement agreement with Hawk and SeeCubic in May

2024. The settlement agreement (a) settled all open litigation between the Debtors and the

SeeCubic Parties; (b) gave Hawk an allowed claim of $180 million; (c) appointed SeeCubic as

the Stalking Horse Bidder in a planned sale of the Debtors’ assets to be held pursuant to Section

363 of the U.S. Bankruptcy Code (the “363 Sale”), (d) allowed SeeCubic to use $150 million of



                                                 22
       Case 2:24-cv-06706-JMY          Document 1        Filed 12/17/24      Page 23 of 47




the Hawk claim to credit bid in the 363 Sale, with only a $7.5 million cash requirement for a

carve-out; and (e) outlined 363 Sale bidding procedures that would require any other bidder to

provide a minimum of $120 million in cash.

       97.     Rembrandt filed a motion objecting to Homony’s settlement agreement, and on

June 6, 2024, the Bankruptcy Court held a hearing. Rembrandt attempted to raise intellectual

property issues, arguing that the settlement contained terms for a 363 Sale of assets that the

Debtors do not own. The Bankruptcy judge refused to consider Rembrandt’s argument, stating

that Rembrandt would be entitled to make its argument when Homony submitted the 363 Sale

bidding procedures. According to the Court, the time for IP arguments would come later.

M.     Homony Allows the SeeCubic Parties to Violate the TRO

       98.     On May 6, 2024, Rembrandt notified the counsel for Homony, SeeCubic and

Hawk that it had become aware of a planned May 7, 2024, meeting to be held in violation of the

Bankruptcy TRO as it affected the Rembrandt IP, a true and correct copy of the email exchange

is attached hereto as Exhibit 11.

       99.     Hawk’s counsel eventually responded, but only two days after the meeting. The

email response from Hawk was revealing in its overly defensive tone and presumption to speak

for Homony and the Debtors:

               It is up to the Debtors to determine whether they believe a violation occurred
               or needs to be addressed. The Debtors have not taken any action or voiced any
               concerns. The e-mails also suggest Rembrandt believes its technology may have
               been improperly used. But there is no pending motion or order defining or dealing
               with the use of Rembrandt’s technology.

       100.    The position of Hawk is untenable because the Bankruptcy TRO specifically

references the Rembrandt technology and prohibits the enjoined parties from:

               Tak[ing] any action to sublicense, transfer, assign, or otherwise dispose of or
               affect any license or technology held or purported to be held by the Debtors’


                                                23
       Case 2:24-cv-06706-JMY          Document 1       Filed 12/17/24      Page 24 of 47




               estates, including but not limited to the Ultra-D technology, and the Philips or
               Rembrandt licenses. (Bankruptcy TRO ¶ 9(a), emphasis added)

       101.    Rembrandt responded to Hawk’s email on May 12, 2024 (Exhibit 11) asking

questions about whether Homony authorized the SeeCubic Parties’ meetings and whether Hawk

was involved. Rembrandt eventually sought discovery.

       102.    VSI and Rembrandt informed Homony multiple times that it believed Stastney,

SeeCubic, Hawk, and SCBV were committing violations. VSI notified Homony and Rembrandt

about fundraising meetings conducted in April 2024 and May 2024, including a global Zoom

teleconference on May 28, 2024, that was recorded by SeeCubic. VSI encouraged Homony to

request a copy of the Zoom recording from SeeCubic to confirm the nature of the meeting and

whether a violation had occurred. On information and belief, Homony made no effort to

investigate the alleged violations.

       103.    Rembrandt noted that Stream’s monthly operating report filed by Homony for

September 2024 included a royalty payment to Philips.

       104.    Homony knew that SCBV had produced products incorporating the Philips IP and

Stream’s Ultra-D technology (and, therefore, the Rembrandt IP). Homony reported the sales to

Philips in a quarterly royalty report he prepared for Stream covering the months of April, May,

and June 2024.

       105.    Homony clearly understood that royalties were due to Philips and paid them, yet

he did not pay Rembrandt under its license agreement.

       106.    During the hearing before the bankruptcy court on November 17, 2024,

Rembrandt raised the issue that it believed SeeCubic had demonstrated a display that is an asset

of Stream including Rembrandt technology to Homony. However, Ms. Brumee representing

SeeCubic, stood and reported that in actuality “The demo units were developed and built by


                                                24
       Case 2:24-cv-06706-JMY           Document 1        Filed 12/17/24       Page 25 of 47




SeeCubic B.V. in the Netherlands, which is five entities down in the corporate structure. Any

demo unit that has been produced and especially one that Mr. Homony has seen would be from

SeeCubic B.V.”, a true and correct copy of page 45 from the transcript from the November 17,

2024, hearing at page 45 is attached as Exhibit 12.

       107.    SCBV has no license from Rembrandt and making a demo unit for SeeCubic is a

clear infringement and misappropriation of the Rembrandt IP and further a violation of the

Bankruptcy TRO.

       108.    Despite the Bankruptcy TRO, Homony permitted SeeCubic to act as though its

acquisition of Stream’s assets was assured and that it has the right to all the underlying

technology, including Rembrandt’s and Philip’s intellectual property, neither of which should be

included in any 363 Sale as neither agreement is assignable and the Philips license terminates

upon change of control (See Sections 1.9 and 5.4(d) of the Philips license).

N.     Homony Fails in his Duty to Determine the Property of the Estate and Stifles
       Discovery

       109.    Rembrandt asked Homony numerous times to investigate the assets of the

Debtors’ estates and those held by SCBV regarding the Rembrandt IP. Upon information and

belief, Homony failed to do so.

       110.    On the simple issue of whether Homony had secured the username and password

to Stream’s software development system, Rembrandt asked on the following occasions and

received no confirmation that Homony had access to the system:

               a. March 22, 2024:

                   “[the SCBV engineers] confirmed something very critical – the software
                   development has been managed through a professional tool that maintains
                   versions for the last 13 years of work. That is the value of SCBV. If the
                   trustee gets access to that server, the value in SCBV is largely preserved.
                   Likewise, if it slips out the back door, there is zero value and lots of liabilities
                   in SCBV.”

                                                  25
       Case 2:24-cv-06706-JMY          Document 1       Filed 12/17/24     Page 26 of 47




               b. April 3, 2024:

                  “Is the intellectual property in the form of software, know-how, copyright,
                  patents, and licenses intact?”

               c. April 4, 2024:

                  “We understand you don’t have staff that are capable of reviewing the
                  software and IP stored on the servers, but can you please confirm that you
                  have possession and access to the developer system where the source code is
                  stored both from SCBV and the work done by Stream and their vendors?”

               d. April 26, 2024:

                  “It has been over three weeks since we have heard from you. Are you going
                  to send an NDA so we can share investor information with you? Basically,
                  the entire value of the Stream and Technovative estates boil down to the IP
                  related to the UltraD improvement. We believe that practical value of this
                  asset is found in the software development management system. Our belief is
                  that the former officers of the company got in a spat and one went to form
                  SeeCubic, Inc and the other VSI. As best as we understand, both insiders
                  have access to this system and source code, software, and firmware design
                  that forms the UltraD technology. The only asset that the trustee needed to
                  marshal and protect was the username and password for the software
                  development system that was referenced in our call with the software
                  engineers. Basically, the former officers have created a situation where they
                  are the only two entities that can garner any value from Stream unless the
                  trustee acted to secure this essential asset.

                  I emailed you the following our call with the Eindhoven team on March 22:
                  ‘… they confirmed something very critical – the software development has
                  been managed through a professional tool that maintains versions for the last
                  13 years of work. That is the value of SCBV. If the trustee gets access to that
                  server, the value in SCBV is largely preserved. Likewise, if it slips out the
                  back door, there is zero value and lots of liabilities in SCBV.’

                  While we have many follow-on issues to resolve, did you and/or the trustee
                  obtain access to the server and the software development tools that form the
                  value of this estate? This is a threshold issue before any investor will start
                  funding any costs related to a reorganization plan.”

       111.    The entire value of the Stream and Technovative estates boiled down to the IP

related to the UltraD improvement. The practical value of this asset is found in the software

development management system. The only asset that Homony needed to marshal and protect to



                                               26
       Case 2:24-cv-06706-JMY           Document 1        Filed 12/17/24      Page 27 of 47




prevent transfer of Rembrandt IP and to capture value for the bankruptcy estate was the

username and password for the software development system.

       112.     Homony allowed Stastney and SCBV to control this critical asset.

       113.     Upon information and belief, Homony made no effort to separate estate property

from the Rembrandt IP and made no reasonable inquiry or request of anyone at SCBV to

separate the Rembrandt IP from the assets held at SCBV prior to the 363 Sale.

       114.     Rembrandt sought discovery to investigate potential Bankruptcy TRO violations

by sending notices of deposition to Hawk, SeeCubic, Hawk principal Arthur Leonard Robert

Morton (“Morton”), and Stastney, but the Bankruptcy Court effectively quashed the discovery at

a hearing on June 5, 2024 and in its order following the next day.

       115.     Rembrandt is aware that on multiple occasions, commencing from July 26, 2024,

VSI sought discovery from Homony on the issue of Bankruptcy TRO violations. Such discovery

would have yielded critical information for Rembrandt as well regarding its intellectual property

rights. Unwilling to cooperate, Homony filed a Motion to Quash the discovery. Homony failed to

exercise the reasonable skill and care required of a statutory fiduciary in his trustee position.

       116.     During the June 5, 2024, hearing to determine whether to approve the settlement

agreement between the SeeCubic Parties and Stream, as negotiated by Homony, Rembrandt

raised its objection on the basis that the settlement also outlined the terms for a proposed 363

Sale of the Debtors’ assets. As it was unclear if the 363 Sale would include the Rembrandt IP,

which Homony would have no legal right to sell, Rembrandt attempted to communicate the need

to separate the financial and legal settlement from the sale of Debtors’ assets, which include the

Rembrandt IP.




                                                 27
       Case 2:24-cv-06706-JMY           Document 1          Filed 12/17/24    Page 28 of 47




       117.    During the June 5, 2024, hearing, when asked if Homony “made any assessment

whether the displays that currently are in the possession of SCBV and/or SeeCubic are utilizing

2d-plus-depth technology?” Homony responded “I have not. I know there’s a dispute with

respect to Rembrandt and its belief that their IP is being utilized by SCBV.”

       118.    Homony also testified that he had no experience with the design or manufacture

of flat panel displays or software related to 3D content.

       119.    Homony further testified that he did not retain any experts to advise him on the

status of the technology with respect to the Philips technology that had been provided under

license to Stream and its subsidiaries or with respect to the Rembrandt technology provided

under the license to Stream.

       120.    Although the Bankruptcy TRO remained valid and enforceable against the

SeeCubic Parties, Homony allowed them to violate the Rembrandt license and willfully chose to

breach the Rembrandt license while paying royalties to Philips but not paying for the Rembrandt

license.

       121.    Rembrandt wrote to Homony’s counsel regarding the proposed engagement of a

prior investment banker (“Capstone”) which withdrew from the Bankruptcy Cases on June 14,

2024, a true and correct copy of which is attached hereto as Exhibit 13. Rembrandt asked if

Homony was relying on Rembrandt’s license to sell assets that included Rembrandt’s IP.

Rembrandt also stated that if Homony’s “intent is to proceed with Capstone committing alleged

infringing acts without paying the license fee, then the broker, the trustee, and debtors are all

independently liable for the acts of infringement. The trustee already testified under oath that you

are not relying on an opinion of counsel, nor has he evaluated the IP issues. Ignorance is not a

defense to patent infringement and the debtors and trustee are certainly on notice.”



                                                 28
        Case 2:24-cv-06706-JMY         Document 1       Filed 12/17/24      Page 29 of 47




        122.   Homony’s counsel responded on June 18, 2024, stating in part that “I am certainly

going to share your e-mail below threatening the Trustee, the Debtors, the Debtors’ secured

creditors and Capstone.”

        123.   Capstone’s agreement requested that their indemnification be limited to their fees

and the US Trustee and Judge objected. Homony later withdrew its application to hire Capstone.

        124.   Despite being put on notice that proceeding with a sale of estate assets that

included the Rembrandt IP would subject himself and those working with him to legal

repercussions and liability for IP infringement, Homony pressed forward with the 363 Sale.

        125.   The Court eventually approved the Bid Procedures and set a 363 Sale hearing date

for December 4, 2024.

O.      Homony and SSG Market Stream’s Assets, Misappropriating Rembrandt’s IP, and
        Violating Federal Statues

        126.   On August 14, 2024, Homony filed an application to employ SSG as an

investment banker to market and sell Stream’s assets. Homony’s selection of SSG was a curious

choice, as Hawk had previously retained SSG to sell the same set of assets for the benefit of

Hawk, which sponsored the Stalking Horse that has been declared the winning bidder of the 363

Sale.

        127.   Rembrandt again reached out to Homony and copied SSG’s counsel, asking

“whether you are planning to assume the Rembrandt license or remove the Rembrandt

technology from the assets being offered for sale” in an email dated September 6, 2024, a true

and correct copy of which is attached hereto as Exhibit 14.

        128.   In the same email, Rembrandt called out SSG’s counsel asking “Does SSG

Advisors have a plan to avoid offering Rembrandt’s technology for sale while conducting the

sale of Stream assets?” (Exhibit 14)


                                                29
       Case 2:24-cv-06706-JMY          Document 1        Filed 12/17/24      Page 30 of 47




       129.    SSG did not respond to Rembrandt, but initiated a marketing campaign and

distributed the 363 Sale Teaser to approximately 500 potential buyers of Stream’s assets,

including industry professionals, competitors, and venture capitalists. The teaser included

language stating:

               The Company’s extensive intellectual property portfolio covers key technological
               advancements in optical solutions, display manufacturing, 3D image rendering,
               and optical stack design, providing robust protection for the Company’s
               innovations. The technology can be licensed and embedded into partner
               hardware, enabling devices to display both native 2D content and immersive 3D
               content.

The 363 Sale Teaser was incorrect by implying to potential buyers of Stream’s assets that the

technology available for purchase could be licensed to customers, irrespective of the fact –

known by SSG and Homony – that the foundational technology from Rembrandt and Philips

was secured by Stream solely through non-transferable and non-assignable licenses.

       130.    The 363 Sale Teaser lists Victor, Kohl, Warznak, Lamm, and Charlton as the

individuals to contact regarding the offer to sell the assets that include the Rembrandt IP. Each of

Victor, Kohl, Warznak, Lamm, and Charlton were offering to sell a patented invention of

Rembrandt and transferring the Rembrandt Trade Secrets without Rembrandt’s authorization.

       131.    At least Homony’s, SSG’s and Victor’s actions were willful and knowing because

Rembrandt sent multiple emails to Homony’s and SSG’s counsel, made numerous court filings

received by both Homony and SSG stating its IP assets were inappropriately being included in

the 363 Sale, and stated in Bankruptcy Court, with SSG managing director J. Scott Victor in

attendance, that the proposed 363 Sale violated Rembrandt’s intellectual property rights.

       132.    Homony’s counsel promised to “share your e-mail below threatening the Trustee,

the Debtors, the Debtors’ secured creditors and Capstone.” Upon information and belief,




                                                 30
       Case 2:24-cv-06706-JMY           Document 1        Filed 12/17/24      Page 31 of 47




Homony’s counsel informed all of the Defendants of Rembrandt’s IP rights and notice that it

would enforce those rights, such that all of the Defendants acted willfully and knowingly.

P.     Summary of Trade Secrets

       133.    The Rembrandt Trade Secrets include proprietary methodologies for efficiently

converting, correcting, and optimizing a 2D+Depth video for playback on a 3D autostereoscopic

display, which are referred to as 3D Tooling and Fuser.

       134.    These methodologies are utilized as an auto-conversion means for creating a

seamless 2D to 3D conversion imaging. They represent key foundational technologies which are

included in the design of autotomatic functions of Ultra-D. When coupled with a 2D/3D

switchable lens, the diffractive/refractive optics provide an artefact-free 3DASD image.

       135.    The methodologies included coding the “adjustments” of the factor and offset into

the video were termed “DRT” or “Depth Range Tuning” by 3DFusion.

       136.    The DRT advancements are incorporated into Stream’s Ultra-D technological

platform. The Eindhoven Team started to refer to these adjustments as “Steve’s magic” and in

one example, Eindhoven Team senior software engineer Bart Barenbrug stated, “he’s a wizard at

that for sure” in a November 10, 2010, email.

       137.    Fuser was 3DFusion’s foundation technological approach for the 2D to 3D

conversion, and by using Philip’s Blue Box as a test platform, Blumenthal was able to

conceptualize a pre-automation level of content conversion designed to evolve into a fully

automated 2D/3D conversion, in support of Philip’s WOWvx, 2D+Depth platform’s application.

This advancement is key to the Philips 2D+D technological platform as found in Ultra-D.

       138.    The Rembrandt Trade Secrets also include proprietary methodologies utilizing

lens technology for refractive and diffractive lens switching for the creation of a light field and

3D content artefact correction. These methodologies are utilized in Ultra-D.

                                                 31
         Case 2:24-cv-06706-JMY          Document 1       Filed 12/17/24       Page 32 of 47




         139.   The Rembrandt Trade Secrets include proprietary methodologies for facilitating

on screen display functions of Borders and Liveliness and innovative adjustment capabilities.

Borders neutralizes the window violation artefact issue found in larger 3D autostereoscopic

screens. The edge of an object popping out of the screen in 3D cannot be touching the borders of

the hardware displaying the image because that gives a perceptual contradiction, commonly

known in the 3D community as a “window violation”: on the one hand, the depth assigned will

tell the viewer that the object is in front of the display, but on the other hand, it disappears behind

the border of the display, which suggests a depth which is at least as far from the viewer as that

border. Such perceptual contradiction detracts from the depth perception (the amount of pop) and

can become discomforting eventually. Rembrandt’s “Borders” trade secret, which is

implemented as source code in Ultra-D, fixes this problem by creating objects that stick out in

the middle but recede in depth near the edges of the image.

         140.   As shown below, Borders appears on the Ultra-D On Screen Display Menu. It is

both a user manual and automatic intervention based on the factor depth values in the zone

identified as the Border, to accentuate the 3D objects center screen pop out effect, as described

above.




                                                  32
        Case 2:24-cv-06706-JMY         Document 1        Filed 12/17/24      Page 33 of 47




        141.   This multiple featured mechanism is designed to correct window edge violations

and to enhance the 3D impact of the forward “pop” off the screen, and by limiting the factor

depth range thereby contributing to the creation of an artefact free 3D image. The Borders menu

provides for a depth map “factor” adjustment to be contained within a defined zone of the screen

edge.

        142.   In conventional 3D movie making depending upon the camera angles and the

objective of the filming, a “window of borders” was created which framed the 3D image. Its

purpose was to break the visual cues which neutralized the 3D impact when objects touched the

edge of the screen.

        143.   Shown below is a screen shot of the Ultra-D On-Screen Display (OSD) menu,

showing the Borders menu with the four sides of the invisible “frame” defined by the positions

top, bottom, left, and right. These are active factor adjustment locations of defined factor zones

set by the position of the numerical counter as seen on the screen. They provide an invisible

frame as seen in the window diagram above.


        144.   When the Ultra-D Borders menu is clicked in the next menu, an adjustable

“Factor” window opens permitting the user to set the location of the top, bottom, left or right side

of the frame area. This zone is adjustable as needed depending upon the type of 3D content and

the desired impact.




                                                33
       Case 2:24-cv-06706-JMY           Document 1        Filed 12/17/24      Page 34 of 47




       145.    The thin line visible in the image below is the location of the invisible factor

frame position setting, which is adjustable. This allows the user to select the factor setting,

which position the frame edge zone as defined by the bottom factor as shown by the faint blue

visual line running under the man’s foot just above the bottom edge.




       146.    These manipulations are illustrated here for the User to make manual adjustments,

whereas the automated process utilizes algorithms to achieve a seamless effect for correcting

window violations.

       147.    When looking at a 3D picture, a person looks at objects floating in a space defined

by the relative position of the edges of the screen and the eyes. In terms of the depth cues, one is

looking at a 3D world through a window which the brain will automatically make the adjustment

for minor distortions due to objects disappearing from one eye view of the two views of 3D.




                                                 34
       Case 2:24-cv-06706-JMY          Document 1        Filed 12/17/24     Page 35 of 47




       148.    As shown below, poor quality 3D content creates window violations which the

brain cannot correct, resulting in eye strain, dizziness, and headaches. Consequently, a frame

outline was used in 3D movies to offset the distortion created when objects moved out of view.




       149.    The Ultra-D Borders adjustment is both a user manual adjustment and an

automatic adjustment designed to minimize edge distortions operating in conjunction with other

operations stemming from the use of the diffractive/refractive optics of the 2D switchable lens

which imposes a 3D pop off the screen limiter function.

       150.    These key Ultra-D advancements allow almost any 3D content to played on the

screen without the artefacts that plague all other 3D auto stereoscopic platforms and utilize the

Rembrandt Trade Secrets.

       151.    This Rembrandt enabled technology goes to the heart of the commercial value for

the Ultra-D technology and Debtors’ estates as it allows and supports a broadcast quality, 3DTV

mass market product for the consumer home.

       152.    The Stream OSD Menu for the “Liveliness” adjustment is an additional 3D

content modification technique based on the manipulation of an additional algorithm which has

been remastered to apply to a 3D segment as an ongoing upgraded 3D enabling adjustment. This

is another 3D content modification technique utilizing Rembrandt’s proprietary slant motion

software, providing an additional 3D image improvement. Liveliness appears on the Ultra-D On-

Screen Display and utilizes Rembrandt’s slant motion software.

                                                35
       Case 2:24-cv-06706-JMY          Document 1         Filed 12/17/24    Page 36 of 47




                                 FIRST CLAIM FOR RELIEF

                          (Infringement of U.S. Patent No. 8,558,830)

       153.    Rembrandt repeats, realleges, and incorporates by reference the allegations

contained in the previous paragraphs of this Complaint as though fully set forth herein.

       154.    Defendants make, use, import, sell, and/or offer for sale in the United States

products including but not limited to the SCBV Products for selectively performing 3D content

processing and/or settings/parameter configuration at one or more components of the system

from 3D content capture to 3D content media display, including, for example, Stream’s Ultra-D

technology and Ultra-D Enabled Monitor (“UDEM”) (collectively referred herein as the “Ultra-

D System”). The Ultra-D technology generates a light-field addressing human depth perception

in a way close to seeing the real three-dimensional world. The Ultra-D optical solution addresses

two important depth cues, stereopsis and (partial) motion parallax, resulting in a more natural 3D

experience.

       155.    The Ultra-D System is a data processing system for improving the efficiency,

quality, viewing comfort and/or visual impact of a 3D experience capable of being provided to at

least one viewer of a 3D content media comprising a plurality of content sections, in conjunction

with the use of predetermined 3D content modification techniques as recited in Claim 1 of the

’830 Patent.

       156.    The Ultra-D technology incorporated in the UDEM embodies at least Claim 1 of

the ’830 Patent by performing all of the steps of the claimed method. UDEM provides an on-

screen-display (OSD) menu that allows an operator to identify a content section comprising a 3D

media element and to select one or more 3D content modification techniques such as “3D

Factor,” “3D Offset” and “Borders” tools for the operator to improve the 3D media element

thereby meeting the limitations of step (a) of Claim 1.

                                                36
       Case 2:24-cv-06706-JMY            Document 1       Filed 12/17/24      Page 37 of 47




       157.       The UDEM OSD allows the operator to apply the selected 3D content

modification technique to improve the 3D media element thereby meeting the limitations of step

(b) of Claim 1.

       158.       The UDEM OSD allows the operator to determine a setting for at least one

parameter (e.g. 62%) of the selected 3D content modification technique (“Borders”) optimal for

the 3D media element in future application frames thereby meeting the limitations of step (c) of

Claim 1.

       159.       The UDEM OSD allows the operator to associate a reference to the selected 3D

content modification technique (e.g. “Borders”) and the determined setting (e.g. 62%) with the

3D media element in future application frames thereby meeting the limitations of step (d) of

Claim 1.

       160.       The UDEM OSD allows the operator to selectively repeat the above steps for an

additional section of the 3D content media.

       161.       The UDEM OSD allows the operator to view in real time results of the above

steps and to selectively cancel at least one result of at least one operation of the previously

performed steps and/or selectively change at least one operation previously performed at the

above steps to an alternate operation.

       162.       The UDEM, after the above steps, generates a file configured for playback to a

viewer and applies the selected 3D content modification technique to the 3D media element

using the optimal parameter, and further configured to store for each 3D media element, the

selected 3D content modification technique applied to each 3D media element and the associated

reference to the future 3D content modification technique and the optimal parameter. The UDEM




                                                  37
       Case 2:24-cv-06706-JMY           Document 1        Filed 12/17/24      Page 38 of 47




performs this step by, for example, including a separate depth signal next to the regular video

signal extended with meta-data.

       163.    The UDEM processes “all [media] content (even non-3D).” Accordingly, it also

meets all of the limitations of claims 2-5 of the ’830 Patent.

       164.    The UDEM meets all of the limitations of claim 6 of the ’830 Patent by including

an OSD that allows manual control of one or more steps of claim 1 by an operator.

       165.    Defendants intended to induce patent infringement by SeeCubic and purchasers of

Debtors’ estate assets by incorporating Ultra-D technology and had knowledge that the inducing

acts would cause infringement or were willfully blind to the possibility that their inducing acts

would cause infringement of the subject matter claimed in the ’830 Patent.

       166.    Defendants willfully infringed the ’830 Patent because Rembrandt provided

actual notice of the Rembrandt patents and informed Defendants of the infringement, which

continued unheeded. Defendants’ infringement constitutes egregious conduct because

Defendants engaged in infringing acts over Rembrandt’s objections.

       167.    Homony failed to enforce the Bankruptcy TRO against SeeCubic and Stastney.

Homony has failed to monitor the infringing actions of the enjoined parties despite specific

requests to do so, allowing them to infringe the ’830 Patent with impunity and causing harm to

Rembrandt.

       168.    At any time, Homony could have worked with Rembrandt to remove Rembrandt’s

patented technology from the Debtors’ assets being sold or narrow the scope of the assets so that

it was clear that Rembrandt’s technology was not included in the sale. Homony has failed to meet

his duty to identify the assets of the Debtors’ estates and violated his duty to enforce the

Bankruptcy TRO despite direct knowledge of the violations.



                                                 38
       Case 2:24-cv-06706-JMY           Document 1       Filed 12/17/24      Page 39 of 47




       169.    Upon information and belief, Homony is aware that Stastney, SeeCubic, and

SCBV are using the Rembrandt IP in support of an effort to acquire the Debtors’ assets as well as

to market the assets, including Rembrandt’s technology, in an attempt to commercialize the

technology. This conduct violates the Bankruptcy TRO issued by the Bankruptcy Court and

injures both Rembrandt and the Debtors.

       170.    The above examples are based on information that has been made publicly

available. They do not set forth all of Rembrandt’s infringement theories. Other claims in the

Rembrandt Patents read on the products will be disclosed in forthcoming infringement

contentions under this District’s local patent rules. Rembrandt reserves the right to amend or

supplement its infringement theories upon more information available through formal discovery

and this Court completing its claim construction proceedings.

       171.    As a direct and proximate result of Defendants’ infringement of the ’830 Patent,

Rembrandt has suffered damages in an amount to be determined at trial.


                                SECOND CLAIM FOR RELIEF

                          (Infringement of U.S. Patent No. 9,521,390)

       172.    Rembrandt repeats, realleges, and incorporates by reference the allegations

contained in the previous paragraphs of this Complaint as though fully set forth herein.

       173.    The Ultra-D technology incorporated in the UDEM, or other display devices

directly infringes at least claim 1 of the ’390 Patent by performing all of the steps of the claimed

method.

       174.    The UDEM provides an on-screen-display (OSD) menu that allows an operator to

identify a content section comprising a 3D media element and to select one or more 3D content




                                                 39
       Case 2:24-cv-06706-JMY            Document 1       Filed 12/17/24      Page 40 of 47




modification techniques such as “3D Factor,” “3D Offset” and “Borders” tools for the operator to

improve the 3D media element thereby meeting the limitations of step (a) of claim 1.

       175.       The UDEM OSD allows the operator to apply the selected 3D content

modification technique to improve the 3D media element thereby meeting the limitations of step

(b) of claim 1.

       176.       The UDEM OSD allows the operator to determine a setting for at least one

parameter (e.g. 62%) of the selected 3D content modification technique (“Borders”) optimal for

the 3D media element in future application frames thereby meeting the limitations of step (c) of

claim 1.

       177.       The UDEM OSD allows the operator to associate a reference to the selected 3D

content modification technique (e.g. “Borders”) and the determined setting (e.g. 62%) with the

3D media element in future application frames thereby meeting the limitations of step (d) of

claim 1.

       178.       The UDEM OSD allows the operator to selectively repeat the above steps for an

additional section of the 3D content media.

       179.       The UDEM OSD allows the operator to view in real time results of the above

steps and to selectively cancel at least one result of at least one operation of the previously

performed steps and/or selectively change at least one operation previously performed at the

above steps to an alternate operation.

       180.       The UDEM, after the above steps, generates a file configured for playback to a

viewer and applies the selected 3D content modification technique to the 3D media element

using the optimal parameter, and further configured to store for each 3D media element, the

selected 3D content modification technique applied to each 3D media element and the associated



                                                  40
       Case 2:24-cv-06706-JMY           Document 1       Filed 12/17/24      Page 41 of 47




reference to the future 3D content modification technique and the optimal parameter. The UDEM

performs this step by, for example, including a separate depth signal next to the regular video

signal extended with meta-data.

       181.    The UDEM processes “all [media] content (even non-3D).” Accordingly, it also

meets all of the limitations of claims 2-5 of the ’390 Patent.

       182.    The UDEM meets all of the limitations of claim 6 of the ’390 Patent by including

an OSD that allows manual control of one or more steps of claim 1 by an operator.

       183.    Defendants intended to induce patent infringement by SeeCubic and purchasers of

Debtors’ estate assets by incorporating Ultra-D technology and had knowledge that the inducing

acts would cause infringement or were willfully blind to the possibility that their inducing acts

would cause infringement of the subject matter claimed in the ’390 Patent.

       184.    Defendants willfully infringed the ’390 Patent because Rembrandt provided

actual notice of the Rembrandt patents and informed Defendants of the infringement, which

continued unheeded. Defendants’ infringement constitutes egregious conduct because

Defendants engaged in infringing acts over Rembrandt’s objections.

       185.    Homony failed to enforce the Bankruptcy TRO against SeeCubic and Stastney.

Homony has failed to monitor the infringing actions of the enjoined parties despite specific

requests to do so, allowing them to infringe the ’390 Patent with impunity and causing harm to

Rembrandt.

       186.    The above examples are based on information that has been made publicly

available. They do not set forth all of Rembrandt’s infringement theories. Other claims in the

Rembrandt Patents read on the products will be disclosed in forthcoming infringement

contentions under this District’s local patent rules. Rembrandt reserves the right to amend or



                                                 41
       Case 2:24-cv-06706-JMY           Document 1        Filed 12/17/24      Page 42 of 47




supplement its infringement theories upon more information available through formal discovery

and this Court completing its claim construction proceedings.

       187.    As a direct and proximate result of Defendants’ infringement of the ’390 Patent,

Rembrandt has suffered damages in an amount to be determined at trial.


                                 THIRD CLAIM FOR RELIEF

                          (Infringement of U.S. Patent No. 9,681,114)

       188.    Rembrandt repeats, realleges, and incorporates by reference the allegations

contained in the previous paragraphs of this Complaint as though fully set forth herein.

       189.    The Ultra-D technology incorporated in the UDEM, or other display devices

directly infringes at least claim 20 of the ’114 Patent by performing all of the steps of the

claimed method.

       190.    The UDEM provides an on-screen-display (OSD) menu that allows an operator to

identify a content section comprising a 3D media element and to select one or more 3D content

modification techniques such as “3D Factor,” “3D Offset” and “Borders” tools for the operator to

improve the 3D media element thereby meeting the limitations of step (a) of claim 20.

       191.    The UDEM OSD allows the operator to apply the selected 3D content

modification technique to improve the 3D media element thereby meeting the limitations of step

(b) of claim 20.

       192.    The UDEM OSD allows the operator to determine a setting for at least one

parameter (e.g. 62%) of the selected 3D content modification technique (“Borders”) optimal for

the 3D media element in future application frames thereby meeting the limitations of step (c) of

claim 20.




                                                 42
       Case 2:24-cv-06706-JMY            Document 1       Filed 12/17/24      Page 43 of 47




       193.    The UDEM OSD allows the operator to associate a reference to the selected 3D

content modification technique (e.g. “Borders”) and the determined setting (e.g. 62%) with the

3D media element in future application frames thereby meeting the limitations of step (d) of

claim 20.

       194.    The UDEM OSD allows the operator to selectively repeat the above steps for an

additional section of the 3D content media.

       195.    The UDEM OSD allows the operator to view in real time results of the above

steps and to selectively cancel at least one result of at least one operation of the previously

performed steps and/or selectively change at least one operation previously performed at the

above steps to an alternate operation.

       196.    The UDEM, after the above steps, generates a file configured for playback to a

viewer and applies the selected 3D content modification technique to the 3D media element

using the optimal parameter, and further configured to store for each 3D media element, the

selected 3D content modification technique applied to each 3D media element and the associated

reference to the future 3D content modification technique and the optimal parameter. The UDEM

performs this step by, for example, including a separate depth signal next to the regular video

signal extended with meta-data.

       197.    Defendants intended to induce patent infringement by SeeCubic and purchasers of

Debtors’ estate assets by incorporating Ultra-D technology and had knowledge that the inducing

acts would cause infringement or were willfully blind to the possibility that their inducing acts

would cause infringement of the subject matter claimed in the ’114 Patent.

       198.    Defendants willfully infringed the ’114 Patent because Rembrandt provided actual

notice of the Rembrandt patents and informed Defendants of the infringement, which continued



                                                 43
       Case 2:24-cv-06706-JMY          Document 1       Filed 12/17/24      Page 44 of 47




unheeded. Defendants’ infringement constitutes egregious conduct because Defendants engaged

in infringing acts over Rembrandt’s objections.

       199.     Homony failed to enforce the Bankruptcy TRO against SeeCubic and Stastney.

Homony has failed to monitor the infringing actions of the enjoined parties despite specific

requests to do so, allowing them to infringe the ’114 Patent with impunity and causing harm to

Rembrandt.

       200.     The above examples are based on information that has been made publicly

available. They do not set forth all of Rembrandt’s infringement theories. Other claims in the

Rembrandt Patents read on the products will be disclosed in forthcoming infringement

contentions under this District’s local patent rules. Rembrandt reserves the right to amend or

supplement its infringement theories upon more information available through formal discovery

and this Court completing its claim construction proceedings.

       201.     As a direct and proximate result of Defendants’ infringement of the ’114 Patent,

Rembrandt has suffered damages in an amount to be determined at trial.


                               FOURTH CLAIM FOR RELIEF

       (Misappropriation Under Defend Trade Secrets Act, 18 U.S.C. §§ 1836 et seq.)

       202.     Rembrandt repeats, realleges, and incorporates by reference the allegations

contained in the previous paragraphs of this Complaint as though fully set forth herein.

       203.     The Rembrandt Trade Secrets constitute trade secrets within the meaning of 18

U.S.C. §1839(3).

       204.     The Rembrandt Trade Secrets were trade secrets at the time of the Defendants’

misappropriation, and Rembrandt has taken reasonable steps to keep the trade secrets

confidential.


                                                  44
          Case 2:24-cv-06706-JMY        Document 1       Filed 12/17/24      Page 45 of 47




          205.   The Rembrandt Trade Secrets derive independent economic value from not being

known or readily ascertainable by others who could obtain economic value from their disclosure

or use.

          206.   Homony misappropriated the Rembrandt Trade Secrets by selling or allowing the

sale of the SCBV Products to entities competing with Stream, allowing SeeCubic to obtain and

use the SCBV Products, offering for sale assets that include the Rembrandt Trade Secrets as part

of the 363 Sale of the Debtors’ estate assets, and offering for purchase a license to the Rembrandt

Trade Secrets.

          207.   SSG misappropriated the Rembrandt Trade Secrets by offering for sale assets that

include the Rembrandt Trade Secrets as part of the 363 Sale of Debtors’ estate assets and offering

for purchase a license to the Rembrandt Trade Secrets.

          208.   Each of Victor, Kohl, Warznak, Lamm, and Charlton misappropriated the

Rembrandt Trade Secrets by offering for sale assets that include the Rembrandt Trade Secrets as

part of the 363 Sale of Debtors’ estate asssets and offering for purchase a license to the

Rembrandt Trade Secrets.

          209.   The misappropriation of the Rembrandt Trade Secrets was and continues to be

willful and malicious.

          210.   Rembrandt has suffered and will continue to suffer damages as a result of the

misappropriation in an amount to be determined at trial.

          211.   The Defendants’ acquisition, use, and/or disclosure of the Rembrandt Trade

Secrets have substantially harmed, and are continuing to harm, Rembrandt.

          212.   Defendants’ misappropriation has diminished and continues to diminish the value

of the Rembrandt Trade Secrets.



                                                 45
         Case 2:24-cv-06706-JMY         Document 1        Filed 12/17/24      Page 46 of 47




                                  FIFTH CLAIM FOR RELIEF

                           (Breach of Contract under Delaware Law)

         213.   Rembrandt repeats, realleges, and incorporates by reference the allegations

contained in the previous paragraphs of this Complaint as though fully set forth herein.

         214.   The Settlement Agreement is a valid and binding contract between Rembrandt

and Stream, which is now part of the bankruptcy estate administered by Homony and offered for

sale by Defendants.

         215.   Rembrandt has fully performed all its obligations under the Settlement

Agreement.

         216.   Homony has materially breached the Settlement Agreement by taking actions

during his administration of the Debtors’ estates that fall outside the scope of the intellectual

property license in the Settlement Agreement. These actions include but are not limited to selling

or allowing the sale of the SCBV Products to entities competing with Stream, allowing SeeCubic

to obtain and use the SCBV Products upon importation into the United States from SCBV,

offering for sale assets that include the Rembrandt IP as part of the 363 Sale of Debtors’ estate

assets, and offering for purchase a license to the Rembrandt IP.

         217.   SSG has materially breached the Settlement Agreement by offering for sale assets

that include the Rembrandt IP as part of the 363 Sale of Debtors’ estate assets and offering for

purchase a license to the Rembrandt IP.

         218.   As a direct and proximate result of Defendants’ breach, Plaintiff has suffered

damages, including but not limited to, lost profits and harm to its business reputation in an

amount to be determined at trial.

         219.   Rembrandt is entitled to recover its attorney’s fees and costs in bringing this

claim.

                                                 46
       Case 2:24-cv-06706-JMY         Document 1       Filed 12/17/24      Page 47 of 47




                                   PRAYER FOR RELIEF

       WHEREFORE, Rembrandt prays for entry of judgment in its favor and against

Defendants as follows:

       A.     Defendants have infringed one or more claims of the Rembrandt Patents;

       B.     Defendants have misappropriated the Rembrandt Trade Secrets;

       C.     Defendants have breached the Settlement Agreement;

       D.     Temporary, preliminary, and permanent injunctive relief preventing further

infringement, misappropriation, and breach by Defendants;

       E.     An award of damages adequate to compensate Rembrandt for Defendants’

infringement, misappropriation, and breach, including pre-judgment and post-judgment interest;

       F.     An award of treble damages, costs, and attorney fees pursuant to 35 U.S.C. § 285;

       G.     Exemplary damages for willful and malicious misappropriation under the DTSA;

       H.     An award of attorney fees under the Settlement Agreement; and

       I.     Granting such other and further relief as the Court may find just, proper, and

equitable.



Date: December 17, 2024                             Respectfully submitted by:


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                                               47
